Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 1 of 32   Pageid#:
                                    1350
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 2 of 32   Pageid#:
                                    1351
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 3 of 32   Pageid#:
                                    1352
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 4 of 32   Pageid#:
                                    1353
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 5 of 32   Pageid#:
                                    1354
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 6 of 32   Pageid#:
                                    1355
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 7 of 32   Pageid#:
                                    1356
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 8 of 32   Pageid#:
                                    1357
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 9 of 32   Pageid#:
                                    1358
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 10 of 32   Pageid#:
                                    1359
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 11 of 32   Pageid#:
                                    1360
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 12 of 32   Pageid#:
                                    1361
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 13 of 32   Pageid#:
                                    1362
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 14 of 32   Pageid#:
                                    1363
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 15 of 32   Pageid#:
                                    1364
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 16 of 32   Pageid#:
                                    1365
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 17 of 32   Pageid#:
                                    1366
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 18 of 32   Pageid#:
                                    1367
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 19 of 32   Pageid#:
                                    1368
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 20 of 32   Pageid#:
                                    1369
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 21 of 32   Pageid#:
                                    1370
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 22 of 32   Pageid#:
                                    1371
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 23 of 32   Pageid#:
                                    1372
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 24 of 32   Pageid#:
                                    1373
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 25 of 32   Pageid#:
                                    1374
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 26 of 32   Pageid#:
                                    1375
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 27 of 32   Pageid#:
                                    1376
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 28 of 32   Pageid#:
                                    1377
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 29 of 32   Pageid#:
                                    1378
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 30 of 32   Pageid#:
                                    1379
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 31 of 32   Pageid#:
                                    1380
Case 3:04-cr-00092-NKM   Document 378 Filed 07/14/09   Page 32 of 32   Pageid#:
                                    1381
